   Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 1 of 12 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                NORTHERN DIVISION

                                     )
EUGENE SCALIA,                       )
SECRETARY OF LABOR                   )
UNITED STATES DEPARTMENT             )
OF LABOR,                            )
                                     )
     Plaintiff,                      )
                                     )                       CIVIL ACTION
     v.                              )
                                     )                       Case No. 4:20-cv-941
CHESTER BROSS, an individual,        )
MICHAEL L. BROSS, an individual,     )
MARK K. BROSS, an individual,        )
JEFFREY W. BROSS, an individual, the )
CHESTER BROSS CONSTRUCTION           )
COMPANY, and the CHESTER BROSS       )
CONSTRUCTION COMPANY 401K PLAN, )
                                     )
     Defendants.                     )
                                     )

                                          COMPLAINT

       Plaintiff, Eugene Scalia, Secretary of Labor, United States Department of Labor

(“Secretary”), alleges:

                                JURISDICTION AND VENUE

       1.      This cause of action arises under the Employee Retirement Income Security Act

of 1974 (“ERISA”), as amended, 29 U.S.C. §§ 1001, et seq., and is brought by the Secretary

under ERISA Section 502(a)(2) and (5), 29 U.S.C. § 1132(a)(2) and (5), to enjoin acts and

practices which violate the provisions of Title I of ERISA, to obtain appropriate relief for

breaches of fiduciary duty under ERISA Section 409, 29 U.S.C. § 1109, and to obtain such

further equitable relief as may be appropriate to redress violations and enforce the provisions of

Title I of ERISA.
   Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 2 of 12 PageID #: 2



       2.      This Court has subject matter jurisdiction over this action pursuant to ERISA

§ 502(e)(1), 29 U.S.C. § 1132(e)(1).

       3.      The Chester Bross Construction Company 401k Plan (“401k Plan”) is an

employee benefit plan within the meaning of ERISA Section 3(3), 29 U.S.C. § 1002(3), which is

subject to the provisions of Title I of ERISA, pursuant to ERISA Section 4(a), 29 U.S.C.

§ 1003(a).

       4.      Venue of this action lies in the District Court for the Eastern District of Missouri,

pursuant to ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2), because the 401k Plan was administered

in Palmyra, Missouri, within this district. Additionally, the fiduciary breaches at issue took place

within this district, and Defendants Chester Bross, Michael Bross, Jeffery Bross, and Mark Bross

(“Individual Defendants”) reside within this district.

                                         DEFENDANTS

       5.      Chester Bross Construction Company is a Missouri Corporation based in

Palmyra, Missouri and was incorporated on December 18, 1972.

       6.      Upon information and belief, Chester Bross Construction Company operated the

following affiliated companies: C.B. Asphalt, Mark Twain Redi-Mix, Inc., Hannibal Concrete

Products Company, LWK Trucking, Skyview Construction & Crane, LLC, McDonald Service

Machinery, LLC, Premier Testing Laboratories, LLC, Mark Twain Holding Company, LLC,

American Construction Contractors, LLC, McDonald Service Enterprises, LLC, Skyview

Machinery, LLC, Skyview Properties, LLC, Bross Railroad Construction, LLC.

       7.      Chester Bross Construction Company performs construction work that is

traditionally seasonal in nature. Most employees are laid off from December through March.




                                                  2
   Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 3 of 12 PageID #: 3



       8.      Upon information and belief, Chester Bross Construction Company is wholly

owned by Bross Holding Group, Inc. (“Bross Holding Group”).

       9.      Bross Holding Group is a Missouri Corporation incorporated on August 22, 2001.

       10.     Bross Holding Group is equally owned by Michael Bross, Jeffrey Bross, and

Mark Bross.

       11.     Michael Bross, Jeffrey Bross, and Mark Bross are members of the board of

directors of Bross Holding Group. Prior to approximately April 10, 2019, Chester Bross was a

member of the board of directors of Bross Holding Group. From approximately April 10, 2019

through at least July 26, 2019, Michael Bross is the President, Jeffrey Bross is the Vice

President, and Mark Bross is the Secretary and Treasurer of Bross Holding Group. Prior to

approximately April 10, 2019, Chester Bross was the President of Bross Holding Group and

Michael Bross was the Vice President.

       12.     From at least January 1, 2013 through at least April 10, 2019, Defendant Chester

Bross was the President, and a member of the board of directors of Chester Bross Construction

Company.

       13.     From at least January 1, 2013 through April 10, 2019, Defendant Michael Bross

was the Vice President and a member of the board of directors of Chester Bross Construction

Company. From approximately April 10, 2019 through at least July 26, 2019, Defendant

Michael Bross is the President of Chester Bross Construction Company.

       14.     From at least January 1, 2013 through at least July 26, 2019, Defendant Jeffrey

Bross is the Vice President and member of the board of directors of Chester Bross Construction

Company.




                                                 3
   Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 4 of 12 PageID #: 4



       15.     From at least January 1, 2013 through at least July 26, 2019, Defendant Mark

Bross is the Secretary and Treasurer, and member of the board of directors of Chester Bross

Construction Company.

       16.     The 401k Plan was established in 1998 by Chester Bross Construction Company

as a defined contribution plan that allows employees to make voluntary salary deferral

contributions through payroll withholdings. Participant loans were permitted by the 401k Plan

with repayment of principal and interest paid through payroll deductions.

       17.     The 401k Plan is named as a defendant herein pursuant to Federal Rule of Civil

Procedure Rule 19(a) solely to assure that complete relief can be granted.

       18.     From at least January 1, 2013 through at least July 26, 2019, Chester Bross

Construction Company was the 401k Plan Sponsor and 401k Plan Administrator.

       19.     From at least January 1, 2013 through at least July 26, 2019, Chester Bross

Construction Company was an employer whose employees were covered by the 401k Plan.

       20.     From at least January 1, 2013 through at least July 26, 2019, the participating

employers of the 401k Plan were Chester Bross Construction Company and its affiliated

companies.

       21.     From at least January 1, 2013 through at least July 26, 2019, Chester Bross

Construction Company was a fiduciary of the Plan within the meaning of ERISA § 3(21)(A), 29

U.S.C. § 1002(21)(A); and was a party in interest to the Plan within the meaning of ERISA

§ 3(14)(A), (C) and (G)(i), 29 U.S.C. § 1002(14)(A), (C) and (G)(i).

       22.     From at least January 1, 2013 through at least July 26, 2019, Defendants Michael

Bross, Jeffery Bross, and Mark Bross were trustees of the 401k Plan; fiduciaries of the 401k Plan

within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A); and were parties in interest




                                                 4
   Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 5 of 12 PageID #: 5



to the 401k Plan within the meaning of ERISA § 3(14)(A), (H), and (F), 29 U.S.C.

§ 1002(14)(A), (H), and (F).

        23.     From at least January 1, 2013 through at least July 26, 2019, Defendant Chester

Bross was a fiduciary of the 401k Plan within the meaning of ERISA § 3(21)(A), 29 U.S.C.

§ 1002(21)(A); and was a party in interest to the 401k Plan within the meaning of ERISA

§ 3(14)(A), (H), and (F), 29 U.S.C. § 1002(14)(A), (H), and (F).

        24.     Each of the Individual Defendants exercised discretionary authority and control

over the management and disposition of the 401k Plan’s assets. Upon information and belief, the

Individual Defendants controlled the assets of Chester Bross Construction Company including

the 401k Plan assets that were commingled with the accounts of Chester Bross Construction

Company.

                                            COUNT I
          (Failure To Remit Employee Salary Deferral Contributions And Participant Loan
                              Repayments To The 401k Plan)

        25.     The Secretary re-alleges and incorporates the preceding Paragraphs, inter alia, as

if fully set forth herein.

        26.     From at least January 1, 2013 through at least July 26, 2019, the 401k Plan’s

governing documents provided in pertinent part that participants could make pre-tax

contributions to the 401k Plan from their compensation.

        27.     From at least January 1, 2013 through at least July 26, 2019, the 401k Plan’s

governing documents provided that its participants could obtain participant loans from their

individual 401k Plan accounts.

        28.     The 401k Plan’s governing documents provide in pertinent part when establishing

the trust the trustees shall hold, invest, and administer the trust “solely in the interest of the




                                                   5
   Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 6 of 12 PageID #: 6



participants and their beneficiaries and for the exclusive purpose of providing benefits to

participants and their beneficiaries.”

       29.      The 401k Plan’s governing documents provide in pertinent part the duties of the

trustee include, among other things, to discharge their duties for the “exclusive purpose of

providing benefits to participants and their beneficiaries,” and “with the care, skill, prudence, and

diligence under the circumstances then prevailing that a prudent person acting in a like capacity

and familiar with such matters would use in the conduct of an enterprise of a like character and

with like aims.”

       30.      At varying times between January 1, 2013 and at least July 26, 2019, Chester

Bross Construction Company withheld employee contributions and loan repayments from

employees’ pay. The withheld amounts are assets of the 401k Plan pursuant to 29 C.F.R.

§ 2510.3-102.

       31.      From at least January 1, 2013 through at least July 26, 2019, Defendant Chester

Bross Construction Company withheld at least $7,920.30 from its employees’ pay as salary

deferral contributions and at least $18,327.65 in participant loan repayments intended for the

401k Plan. Upon information and belief, the Chester Bross Construction Company retained the

withheld employee salary deferral contribution in its general operating account, never remitted

them to the 401k Plan, and used the monies to pay Chester Bross Construction Company

expenses.

       32.      From at least January 1, 2013 through at least July 26, 2019, the Individual

Defendants exercised authority and control over whether and when Chester Bross Construction

Company remitted withheld employee salary deferral contributions and loan repayments to the

401k Plan.




                                                 6
   Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 7 of 12 PageID #: 7



       33.       As fiduciaries to the 401k Plan, Defendants failed to ensure that the employees’

salary deferral contributions and participant loan repayments to the 401k Plan were remitted to

the 401k Plan.

       34.       Based on the facts described above, the Defendants:

                 a.     permitted the 401k Plan’s assets to inure to the benefit of the employer

       and failed to hold them for the exclusive purpose of providing benefits to 401k Plan

       participants and their beneficiaries and defraying reasonable expenses of 401k Plan

       administration in violation of ERISA § 403(c)(1), 29 U.S.C. § 1103(c)(1);

                 b.     failed to act solely in the interest of 401k Plan participants and their

       beneficiaries and for the exclusive purpose of providing benefits to 401k Plan participants

       and their beneficiaries and defraying reasonable expenses of the Plan administration, in

       violation of ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A);

                 c.     failed to discharge their duties with respect to the 401k Plan with the

       requisite degree of care, skill and prudence, and diligence under the circumstances then

       prevailing, which prudent person acting in like capacity and familiar with such matters

       would use the conduct of an enterprise of like character and with like aims, in violation of

       ERISA § 404(a)(1)(B), 29 U.S.C. § 1104(a)(1)(B);

                 d.     failed to discharge their duties with respect to the 401k Plan in accordance

       with the documents and instruments governing the plan, insofar as such documents and

       instruments are consistent with ERISA, in violation of ERISA § 404(a)(1)(D), 29 U.S.C.

       § 1104(a)(1)(D);

                 e.     caused the 401k Plan to engage in transactions which they knew or should

       have known constituted a direct or indirect transfer to, or use by or for the benefit of, a




                                                   7
   Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 8 of 12 PageID #: 8



        party in interest, of assets of the 401k Plan, in violation of ERISA § 406(a)(1)(D), 29

        U.S.C. § 1106(a)(1)(D);

                f.       dealt with assets of the 401k Plan in their own interest in violation of

        ERISA § 406(b)(1), 29 U.S.C. § 1106(b)(1); and

                g.       acted on behalf of a party whose interests are adverse to the interests of the

        401k Plan or the interests of its participants and beneficiaries, in violation of ERISA

        § 406(b)(2), 29 U.S.C. § 1106(b)(2).

        35.     As a direct and proximate result of the Defendants fiduciary breaches, the 401k

Plan suffered injury and losses for which they are personally liable and subject to appropriate

equitable relief, pursuant to ERISA § 409, 29 U.S.C. § 1109.

                                      COUNT II
     (Failure To Remit Employee Salary Deferral Contributions And Participant Loan
                   Repayments To The 401k Plan in a Timely Manner)

        36.     The Secretary re-alleges and incorporates the preceding Paragraphs, inter alia, as

if fully set forth herein.

        37.     From at least January 1, 2013 through at least July 26, 2019, Defendant Chester

Bross Construction Company withheld $1,999,351.56 in employee salary deferrals from

employees’ paychecks for contribution to the 401k Plan.

        38.     From at least January 1, 2013 through at least July 26, 2019, Defendant Chester

Bross Construction Company failed to remit the $1,999,351.56 in employee salary deferral

contributions to the 401k Plan in a timely manner.

        39.     In accordance with 29 C.F.R. § 2510.3-102, participant contributions and

participant loan repayments were required to be forwarded to the 401k Plan on the earliest date




                                                   8
   Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 9 of 12 PageID #: 9



on which such contributions could reasonably be segregated from Chester Bross Construction

Company’s general assets.

       40.     Upon information and belief, Chester Bross Construction Company’s payroll

processes and remittance history were such that the participant contributions could reasonably be

segregated and forwarded to the 401k Plan within at least five (5) business days of each pay date.

       41.     From at least January 1, 2013 through at least July 26, 2019, the Individual

Defendants exercised authority and control over whether and when Chester Bross Construction

Company remitted the $1,999,351.56 from its employees’ paychecks as salary deferred

contributions, and participant loan repayments, to the 401k Plan in a timely manner.

       42.     As fiduciaries to the 401k Plan, Defendants failed to ensure the salary deferral

contributions and participant loan repayments were timely remitted to the 401k Plan.

       43.     Based on the facts described within this Count, the Defendants:

               a.     permitted the 401k Plan’s assets to inure to the benefit of the Chester

       Bross Construction Company and failed to hold them for the exclusive purpose of

       providing benefit to 401k Plan participants and their beneficiaries and defraying

       reasonable expenses of 401k Plan administration in violation of ERISA § 403(c)(1), 29

       U.S.C. § 1103(c)(1);

               b.     failed to act solely in the interest of 401k Plan participants and their

       beneficiaries and for the exclusive purpose of providing benefits to 401k Plan participants

       and their beneficiaries and defraying reasonable expenses of 401k Plan administration, in

       violation of ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A);

               c.     failed to discharge their duties with respect to the 401k Plan with the

       requisite degree of care, skill, prudence, and diligence under the circumstances then




                                                 9
 Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 10 of 12 PageID #: 10



       prevailing, which prudent person acting in like capacity and familiar with such matters

       would use the conduct of an enterprise of like character and with like aims, in violation of

       ERISA § 404(a)(1)(B), 29 U.S.C. § 1104(a)(1)(B);

               d.     failed to discharge their duties with respect to the 401k Plan in accordance

       with the documents and instruments governing the plan, insofar as such documents and

       instruments are consistent with ERISA, in violation of ERISA § 404(a)(1)(D), 29 U.S.C.

       § 1104(a)(1)(D);

               e.     caused the 401k Plan to engage in transactions which they knew or should

       have known constituted a direct or indirect transfer to, or use by or for the benefit of, a

       party in interest, of assets of the 401k Plan, in violation of ERISA § 406(a)(1)(D),

       29 U.S.C. § 1106(a)(1)(D);

               f.     dealt with assets of the 401k Plan in their own interest in violation of

       ERISA § 406(b)(1), 29 U.S.C. § 1106(b)(1); and

               g.     acted on behalf of a party whose interests are adverse to the interests of the

       401k Plan or the interests of its participants and beneficiaries, in violation of ERISA

       § 406(b)(2), 29 U.S.C. § 1106(b)(2).

       44.     As a direct and proximate result of the fiduciary breaches of the Defendants, the

401k Plan suffered injury and losses for which they are personally liable and subject to

appropriate equitable relief, pursuant to ERISA § 409, 29 U.S.C. § 1109.

                                    PRAYER FOR RELIEF

       Wherefore, the Secretary prays for judgment:

       A.      permanently enjoining Defendants from violating the provisions of Title I of

ERISA;




                                                 10
  Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 11 of 12 PageID #: 11



          B.   permanently enjoining Defendants from serving or acting as a fiduciary or service

provider to any ERISA-covered employee benefit plan and removing them from any position

they now hold as a fiduciary to the 401k Plan;

          C.   ordering Defendants to make good to the 401k Plan all losses, including lost

opportunity costs, resulting from fiduciary breaches committed by them or for which they are

liable;

          D.   requiring Defendants to disgorge all ill-gotten gains resulting from their violations

of Title I of ERISA;

          E.   ordering Defendants to correct the prohibited transactions in which they engaged;

          F.   ordering the Plan to set off the Individual Defendants’ individual Plan accounts

against the amount of losses, including lost opportunity costs, resulting from the Individual

Defendants’ breaches, as authorized by Section 1502(a) of the Taxpayer Relief Act of 1997, Pub.

L. No. 105-34, § 1502(a), 111 Stat. 788, 1058-59 (1997) (codified at 29 U.S.C. § 1056(d)(4)), if

the losses are not otherwise restored to the 401k Plan by the Individual Defendants;

          G.   appointing an independent fiduciary;

          H.   ordering fiduciaries to pay the reasonable fees and expenses of the independent

fiduciary;

          I.   awarding the Secretary the costs of this action; and

          J.   ordering such other just and proper relief.



                                              Kate S. O’Scannlain
                                              Solicitor of Labor

                                              Christine Z. Heri
                                              Regional Solicitor




                                                 11
Case: 2:20-cv-00040-PLC Doc. #: 1 Filed: 07/21/20 Page: 12 of 12 PageID #: 12



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                                     12
